 Case 1:22-cv-00958-UNA Document 20 Filed 07/26/22 Page 1 of 2 PageID #: 55




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 EASTERN PACIFIC CHARTERING (22)
 INC.,

              Plaintiff,

       v.                                    C.A. No. 1:22-cv-00958-UNA

 LOUIS DREYFUS COMPANY FREIGHT
 ASIA PTE LTD.,

              Defendant,

       and

 ARCHER-DANIELS-MIDLAND
 COMPANY, ESSEX CEMENT COMPANY
 LLC, JSW STEEL HOLDING (USA) INC.,
 LOUIS DREYFUS COMPANY LLC,
 LOUIS DREYFUS COMPANY OCEAN
 FREIGHT LLC, LOUIS DREYFUS
 COMPANY TRANSPORT LOGISTICS,
 INC., OAKLEY INTERNATIONAL, LLC,
 OXBOW CALCINING INTERNATIONAL
 LLC, RAHR CORPORATION, KOCH
 FERTILIZER, LLC and YARA NORTH
 AMERICA, INC.

              Garnishees.

                              NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that Brian M. Rostocki of Reed Smith LLP hereby enters his

appearance on behalf of Garnishee Archer-Daniels-Midland Company.
Case 1:22-cv-00958-UNA Document 20 Filed 07/26/22 Page 2 of 2 PageID #: 56




Dated: July 26, 2022                 REED SMITH LLP

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                                     Midland Company




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